Case 1:05-cr-10038-.]DT Document 8 Filed 06/14/05 Page 1 of 2 Page|D 10

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UNITED sTATEs DISTRICT CoURT --~»-D.C.

WESTERN DISTRICT OF TENNESSEE 05
Eastern Division

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UNITED STATES 0F AMERICA YER§{F SS‘DS§B{O€?O
W o. o.c m JACKSS)‘§\£

-vs- Case No. 1:05cr10038- T

RICHARD ROBERSON

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above»styled case, and is otherwise qualified for appointment of counsel. Accordingly,

the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
~ The F ederal Publie Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
- All purposes including trial and appeal

DONE and ORDERED in lll South Highland, Jackson, TN, this 14th day of June, 2005.

.\`S.”/'Z"M @J

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Copies furnished tOZ

United States Attorney

United States Marshal

Pretrial Services Ofiice

Assistant Federal Public Defender

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 1:05-CR-10038 Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

